






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00461-CR






Jennifer Elaine Caraveo, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 390TH JUDICIAL DISTRICT

NO. D-1-DC-07-301380, HONORABLE JULIE H. KOCUREK, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Appellant Jennifer Elaine Caraveo pleaded guilty to the offense of aggravated
robbery.  See Tex. Penal Code Ann. § 29.03 (West 2003).  Caraveo seeks to appeal from the
judgment of conviction.  The district court has certified that the defendant has waived the right of
appeal.  Accordingly, we dismiss the appeal.  See Tex. R. App. P. 25.2(a)(2), (d).


						_____________________________________________

						Bob Pemberton, Justice

Before Chief Justice Law, Justices Puryear and Pemberton

Dismissed

Filed:   August 20, 2008

Do Not Publish


